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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 1:19-cv-20121-JLK



 WARRIOR TRADING, INC.,
 a Delaware corporation; and
 ROSS CAMERON, an individual

        Plaintiffs,

 v.

 DAVID JAFFEE, an individual, together
 or in concert with another unknown entity
 doing business as “Best Stock Strategy,

       Defendant.
 ___________________________/

      NOTICE OF FILING DECLARATION OF DAVID JAFFEE IN OPPOSITION
        TO PLAINTIFFS’ MOTION FOR ORDER TO SHOW CAUSE [D.E. 17]

        Defendant, DAVID JAFFEE, hereby provides notice to the Court and all interested parties

 of the filing of the Declaration of David Jaffee in Opposition to Plaintiffs’ Motion for Order to

 Show Cause [D.E. 17]. A copy of the Declaration is attached as Exhibit “1.”



                                                      Respectfully Submitted,
                                                      JEFFREY M. BERMAN, P.A.
                                                      Counsel for Defendant
                                                      1722 Sheridan Street No. 225
                                                      Hollywood, Florida 33020
                                                      Tel 305.834.4150
                                                      Fax 305.832.0145

                                                   By:         s/Jeffrey M. Berman
                                                               JEFFREY M. BERMAN
                                                               Fla. Bar No. 14979
                                                               jeff@jmbermanlaw.com




                                            JEFFREY M. BERMAN, P.A.
          1722 SHERIDAN STREET NO. 225 | HOLLYWOOD, FLORIDA 33020 | OFFICE: 305.834.4150 | FAX: 305.832.0145
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                                     CERTIFICATE OF SERVICE

       I CERTIFY that the foregoing was served via email through CM/ECF on February

 13, 2019 upon: Marissa D. Kelley, Esq., mkelley@stearnsweaver.com.


                                                     By:     /s/ Jeffrey M. Berman______________
                                                                  Jeffrey M. Berman




                                                         2

                                           JEFFREY M. BERMAN, P.A.
         1722 SHERIDAN STREET NO. 225 | HOLLYWOOD, FLORIDA 33020 | OFFICE: 305.834.4150 | FAX: 305.832.0145
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           Exhibit “1”
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 1:19-cv-20121-JLK


WARRIOR TRADING, INC.,
a Delaware corporation; and
ROSS CAMERON, an individual

       Plaintiffs,

v.

DAVID JAFFEE, an individual, together
or in concert with another unknown entity


      Defendant.
___________________________________/

                  DECLARATION OF DAVID JAFFEE IN OPPOSITION TO
               

        Pursuant to 28 U.S.C. § 1746, I, David Jaffee, declare as follows:

        1.     My name is David Jaffee and I am over 18 years of age. I make this declaration

voluntarily and based upon my own personal knowledge regarding the matters set forth herein.

        2.     I am the founder of BestStockStrategy.com and I am Defendant in this matter.

        3.     On February 11, 2019, Plaintiffs filed a Motion for Order to Show Cause Why Defendant



Pre

        4.     

           

This statement is false. The Motion contains numerous other statements which are also false or



Motion should be denied.
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        5.      The Preliminary Injunction 

    

             



        6.      There is no dispute the First Video and Second Video have been removed from public

view, and cannot be accessed, watched or searched for by any member of the public.

        7.      In fact, I personally removed the First Video and Second Video from public view at the

time of the injunction hearing which took place on January 15, 2019. Marissa D. Kelley, Esq.,

rt during the injunction hearing that these videos had

been removed and were no longer publicly available.

        8.      Indeed, it appears that the First Video

and Second Video are no longer available for public view (apparently because of YouTube's actions and

                 

since I personally removed the First Video and Second Video from public view.

        9.      Since the injunction hearing, I have not re-published, disseminated or otherwise made

public in any way the First Video or the Second Video.

        10.     

the YouTube videos that they requested to be removed pursuant to the Preliminary Injunction

th th -1].

        11.     Immediately upon receiving the January 25 th Letter, I personally removed from public

view every reference to Plaintiffs that was identified in the list enclosed with the January 25 th Letter,

and deleted any related text-based reference.

        12.     In fact, just to be safe I personally removed content that merely mentioned Plaintiffs,

even though that content did not contain any defamatory or negative statements regarding Plaintiffs.




                                                          2
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        13.      None of the other content that was

enjoined by             

(which is the January 25th Letter). Motion [D.E. 17 at 3]. This is false because I personally removed

every reference to Plaintiffs that was identified in the list enclosed with the January 25 th Letter.

        14.      To further demonstrate this statement in the Motion was false, the Motion then states:

                  Id.].

In other words, Plaintiffs are really arguing that I violated the Preliminary Injunction by not removing

                  

(which is the January 25th Letter that contains a list of the items that I have already removed).

        15.      

in connection with the January 25th tems that were not contained in

the list enclosed with the January 25th Letter.

        16.      and the items listed on

otion. I am also not

aware of any other public references to Plaintiffs attributable to me which are negative or defamatory.

        17.               

would have removed them immediately if Plaintiffs had simply

requested that I do so and provided me with that opportunity prior to filing their Motion.

        18.      Again, for Plaintiffs to claim that I did not remove content per their request and that I

    th Letter or the Preliminary Injunction is completely false.

 th Letter, and are now

t were never presented to me or brought to my attention before the

Motion (which I already removed) to claim that I violated the Preliminary Injunction.

        19.      I declare under penalty of perjury that the foregoing is true and correct.




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